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United States District Court
for the
Southern District of Illinois

CLYDE ALLEN, et al.,

Plaintiffs, Case Number: 3:15-cv-00061-MJR-DGW

V.

SCHNUCK MARKETS, INC.,

Defendant.

JUDGMENT IN_A CIVIL ACTION

Pursuant to the Order dated October 28, 2015 and Joint Stipulation of Dismissal dated October
16, 2015, DEFENDANTS, CLYDE E, ALLEN, JIM ALTER, JESSIE M. ANDERSON, DEWAYNE
ASHLEY, SANDRA ATHERTON-COMBS, JEANIE BACH, JOYCE BARNES, DEBRA BARROW,
LEANDER BEATTY, NORA BENACK, MICHAEL BENSKIN, PENNY D. BICKFORD, MELINDA
BLACKMON, RAYMOND BLASE, JOETTA BOYD, CECELIA BRADEN, ROSIE BRIDGES, KARI
BRITTAIN, SHARON K. BROOKS, BARQUAEL BROWN, BOBBIE BROWN, GLORIA J. BROWN,
LILLIAN BROWN, EILEEN BUHLINGER, BRIAN BURMINGHAM, PATRICIA A. BURRESS,
LOUIS CAIMI, SHERIDA M. CARTER, MICHAEL J. CASTELLANO, CAROLE CHALKUS, ERIC
D. CHOATE, JUNE CLAY, JAMES COCHRAN, TASHA COLLINS, NOAH COX, TONYA
CRAWFORD, AMATO CRISPINO, JOY CURRY, BRUCE DEADY, TERESA DENNISON,
MARIAN DEVLIN, RICKY DIXON, MAXIE DOZIER, JUANITA DUNCAN, LORNA EDWARDS,
KAREN REED, RICHARD ENGELHARDT, RODNEY FARWELL, BRANDY FLETCHER,
GWENDOLYN FORD, TAMALA FORD, TIFANI FOSTER, ARTHUR FROST, MARY FULLER,
GARY FULTS, SUSAN GALFANO, MICHAEL GAVIN, PAULA GIANELLA, MARIAN
GLUCKHERTZ, JAYNE GRAVES, REVA GRAY, JAMES GUY, ROBERTA HAFNER, JAMES
HAGEDORN, VELMA HALEY, BETSY HALL, CHARLENE HALL, DANE HANSEN, SHANNON
HARDING, LINDSAY HARDY, KENNETH HARRIS, DOROTHY HAYSELTT, CHARLES

 
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HEARD, AUDIE HELTON, LORAINE HENDERSON, SHIRLEY HERBERT, DAVID HILDESTAD,
PAULINE HILL, RAY HILL, RACHEL HINTON, BETTY HOBBS, MARY HOF, CLARA HORTON,
KATHY HOWARD, MICHAEL HUNT, JENNIFER JACKSON, SANDRA JACKSON, STELLA
JENKINS, BARBARA JERNIGAN, CHRIS JOHNSON, JOHN JOHNSON, MICHAEL JOHNSON,
BEATRICE JONES, GARY JONES, MAURICE JONES, THOMAS JONES, PAULINE KAESBERG,
GREG KELLY, HERMAN KING, FRED KININSON, STEVEN KUEKER, DIANA KUHAR,
WILLIAM LAM, LINDA LAPEKAS, INA LATCHISON, MARY LEE, ROSE LEWIS-TAYLOR,
ELLA LINGARD, SAMUEL LOVELL, LINDA MACY, JAMES MADISON, PEGGY MALONE,
KATRINA MALTZMAN, DOROTHY MANN, BARBARA MARTIN, CATHERINE MAUPIN,
MARGARET MAXWELL, RUBY MCDONALD, DONNA MCELRATH, REED MCLEAN, CHERYL
R. MCLIMANS, WILLIAM MERIWEATHER, CARLA MIGET, BEVERLY MIKEL, CARL MILLER,
RANDY MILLER, EMILY MITCHELL, CAROL MONTAGUE, WAYNE MORGAN, GEORGE
MURRY, LINDSAY NALLEY, RENEE NELSON, DEBORAH NICOLAI, ROBERT NIXON,
PATRICIA NOLAN, KEVIN OGDEN, ANITA OHREN, LINDA OLIVER, EILEEN O'SULLIVAN,
FLOYD PARKS, STEVEN PAYNE, CATHY PEARCE, NORMA PEEBLES, BETTY PHILLIPS,
VICKI PIERCE, ANGELA PIRCK, RICK PLOUFFE, WILLIAM POLONIUS, DORIS PUGH,
KENNETH QUILLMAN, BEAT RAESS, ERWIN RAMELOW, MALCOLM REED, JILL REEVES,
BARBARA RILEY-CATLETT, CATHERINE ROACH, JAY ROEVER, CHARLES ROGERS, IRVIN
ROSELMAN, STEPHEN ROTH, KATHY RUSH, RUBY RUSK, ANGELA RUSSELL, MONA
SANDERS, JERRY L. SCHAEDIG, EDWIN SCHOENBECK, LINDA SCHOMBER, BEVERLY
SCHULZE, PAT SCHWARTZ, LEE SEALS, JOYCE SHERMAN, MICHAEL SHINE, RAYBURN
SILVER, BLOSSOM SINGER, CELIA SPICER, THERESA STANDING, MICHELE STONE,
GREGORY J. SURECK, CAROL TASSONE, MICHAEL TEMPEL, BOBBIE TERRY, EUGENE
THOMAS, SANDRA TRAVIS, ROSARIO TURALLO, JILL UNDERWOOD, CHARLOTTE VERGA,
MIKE WAINZ, THOMAS WALKER, MERTICE WATERS, ANDREW WEATHERHOLT,
MATTHEW WEBER, BARBARA WELTE, JAMES WESLEY, CHARLES WHITE, JAMES WHITE,
REGINA WILSON, DIANA WIRTH, BARBARA WITTMER, KELLY A. WRIGHT WERE
DISMISSED with prejudice.

By Order dated April 12, 2016, the Court GRANTED SCHNUCKS?’ motions to dismiss and DISMISSED

the claims of BELINDA WILSON, CAROLE BELLMAN, DAN DETERS, LYDIA DOUGLAS, EZELL
JAMES, and VERNE VOLLRATH with prejudice.

Dated: April 15, 2016

 

 
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Justine Flanagan, Acting Clerk of Court
s/ Debbie DeRousse
Deputy Clerk

Approved:

 

 
